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1     NICOLA T. HANNA
      United States Attorney
2     PATRICK R. FITZGERALD
      Assistant United States Attorney
3     Chief, National Security Division
      DAVID T. RYAN (Cal. Bar No.295785)
4     Assistant United States Attorney
      Terrorism and Export Crimes Section
5          1500 United States Courthouse
           312 North Spring Street
6          Los Angeles, California 90012
           Telephone: (213) 894-4491
7          Facsimile: (213) 894-2979
           E-mail:    david.ryan@usdoj.gov
8
      Attorneys for Plaintiff
9     UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12    UNITED STATES OF AMERICA,                No. CR 84-972-VAP

13               Plaintiff,                    JOINT STATUS REPORT

14                     v.

15    RICHARD W. MILLER, et al.,

16               Defendants.

17

18         Plaintiff United States of America, by and through its counsel
19    of record, the United States Attorney for the Central District of
20    California and Assistant United States Attorney David T. Ryan, and
21    non-party Fugitive Media, hereby file this joint status report,
22    pursuant to this Court’s May 23, 2019, Minute Order (Dkt. 1325).
23         On May 23, 2019, the Court ordered the parties to file a status
24    report by May 31, 2019, regarding (1) the status of the review by the
25    government and the Court Information Security Officer to determine
26    whether materials in the sealed case file are subject to
27    classification; and (2) the status of the parties’ efforts to obtain
28    additional unsealed and sealed records from the Clerk’s office.
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1          Status of Review of Classified Materials
2          On May 20, 2019, government counsel met with the Court

3     Information Security Officer (“CISO”), Scooter Slade.           Mr. Slade

4     agreed to review the sealed case file to determine whether it

5     contains material that is subject to classification.           Mr. Slade

6     subsequently informed government counsel that there are numerous

7     records from the case, including trial transcripts, that were

8     designated as classified and that are in the CISO’s custody.            Mr.

9     Slade further indicated that he would begin the process of consulting

10    with the appropriate agencies to determine whether any documents in

11    the sealed case file provided to the government are subject to

12    classification, and whether any documents that were previously

13    designated classified are no longer subject to classification.

14           Status of Efforts to Obtain Additional Records from the Clerk
15         As set forth in the government’s recent ex parte application

16    (Dkt. 1324), on May 17, 2019, representatives from the Clerk’s office

17    informed government counsel and Ms. Wilson that there may be

18    additional sealed and unsealed physical records located at the

19    Federal Records Center in Riverside that had not previously been

20    provided in response to Ms. Wilson’s requests for unsealed records or

21    to the government’s request for sealed records.          The Clerk’s office

22    has since confirmed that it is not in possession of any additional

23    sealed or unsealed physical records.

24         Proposed Briefing Schedule
25         In light of the foregoing, the parties propose the following

26    briefing schedule:

27            1. By June 14, 2019, the government shall file a response to

28               Fugitive Media’s Request to Unseal Exhibits and Transcripts

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1                Or, In The Alternative, View Sealed Documents, with respect

2                to the sealed documents provided to the government by the

3                Clerk’s Office.

4             2. By June 28, 2019, the government shall file a status report

5                regarding the review of the remaining sealed documents

6                previously designated as classified to determine whether

7                they remain subject to classification.

8      Dated: May 31, 2019                 Respectfully submitted,

9                                          NICOLA T. HANNA
                                           United States Attorney
10
                                           PATRICK R. FITZGERALD
11                                         Assistant United States Attorney
                                           Chief, National Security Division
12

13                                          /s/
                                           DAVID T. RYAN
14                                         Assistant United States Attorney

15                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
16

17     Dated: May 31, 2019                 Respectfully submitted,

18
                                            /s/ by e-mail authorization
19                                         ELIZABETH WILSON
                                           Fugitive Media
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